Case 1:22-cv-01466-MN Document 106 Filed 10/06/23 Page 1 of 1 PageID #: 15531




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

AUTONOMOUS DEVICES, LLC,                          )
                                                  )
                      Plaintiff,                  )
                                                  )
       v.                                         )    C.A. No. 22-1466 (MN)
                                                  )
TESLA, INC.,                                      )
                                                  )
                      Defendant.                  )

                                        NOTICE OF SERVICE

       I hereby certify that on October 6, 2023, a true and correct copy of TESLA’S 5th

Supplemental Responses and Objections to Plaintiff’s First Set of Interrogatories (No. 10) was

caused to be served upon the following via electronic mail:

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